                      United States District Court
               For The Western District of North Carolina
                           Asheville Division

KEN ALVAREZ, et. Al.,

             Plaintiff(s),                   JUDGMENT IN A CIVIL CASE

vs.                                          1:11cv03

JAMES ROBERT WARD, et al.,

             Defendant(s).



DECISION BY COURT. This action having come before the Court by Memorandum of Decisi
and a decision having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s Memorandum of Decision and Order filed January 13, 2012.




                                         Signed: January 13, 2012




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